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     Securities Corporation Mortgage Loan Trust 2007-BNC1, Mortgage Pass-Through Certificates,
 8   Series 2007-BNC1
 9
                                 UNITED STATES DISTRICT COURT
10                                    DISTRICT OF NEVADA
11   U.S. BANK NATIONAL ASSOCIATION, AS               Case No.: 2:20-cv-02079-RFB-DJA
12   TRUSTEE FOR STRUCTURED ASSET
     SECURITIES CORPORATION MORTGAGE
13   LOAN TRUST 2007-BNC1, MORTGAGE                   STIPULATION AND ORDER TO
     PASS-THROGH CERTIFICATES, SERIES                 EXTEND TIME PERIOD TO RESPOND
14
     2007-BNC1,                                       TO MOTION TO DISMISS [ECF No. 4]
15
                          Plaintiff,                  [Fourth Request]
16          vs.
17   FIDELITY NATIONAL TITLE GROUP,
18   INC.; FIDELITY NATIONAL TITLE
     INSURANCE COMPANY; DOE
19   INDIVIDUALS I through X; and ROE
     CORPORATIONS XI through XX, inclusive,
20
                          Defendant.
21
22          Plaintiff, U.S. Bank National Association, as Trustee for Structured Asset Securities
23   Corporation Mortgage Loan Trust 2007-BNC1, Mortgage Pass-Through Certificates, Series
24   2007-BNC1 (“US Bank”) and Defendant Fidelity National Title Insurance Company
25   (“FNTIC”), by and through their counsel of record, hereby stipulate and agree as follows:
26          1. On October 16, 2020, US Bank filed its Complaint in Eighth Judicial District Court,
27                Case No. A-20-823189-C [ECF No. 1-1];
28



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 1          2. On November 12, 2020, Defendants filed a Petition for Removal to this Court [ECF
 2             No. 1];
 3          3. On November 16, 2020, FNTIC filed a Motion to Dismiss [ECF No. 4];
 4          4. US Bank’s deadline to respond to FNTIC’s Motion to Dismiss is currently January
 5             11, 2021 [ECF No. 21];
 6          5. US Bank’s counsel is requesting a brief extension until Monday, January 25, 2021,
 7             to file its response to the pending Motion to Dismiss;
 8          6. This extension is requested to allow U.S. Bank additional time to finalize and file its
 9             response to the pending Motion to Dismiss in light of an unexpected medical
10             emergency experienced by the lead handling counsel for U.S. Bank.
11          7. Counsel for FNTIC does not oppose the requested extension;
12          8. This is the fourth request for an extension which is made in good faith and not for
13             purposes of delay.
14          IT IS SO STIPULATED.
15    DATED this 11th day of January, 2021.           DATED this 11th day of January, 2021.
16    WRIGHT, FINLAY & ZAK, LLP                       SINCLAIR BRAUN LLP
17
      /s/ Christina V. Miller [SBN 12448] for         /s/ Kevin S. Sinclair
18    Darren T. Brenner, Esq.                         Kevin S. Sinclair, Esq.
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21    Las Vegas, NV 89117                             Title Group, Inc. and Fidelity National Title
      Attorneys for Plaintiff, U.S. Bank National     Insurance Company
22    Association, as Trustee for Structured Asset
23    Securities Corporation Mortgage Loan Trust
      2007-BNC1, Mortgage Pass-Through
24    Certificates, Series 2007-BNC1
25
     IT IS SO ORDERED.
26
            Dated this _____
                       11th day of January, 2021.
27
                                                 ________________________________________
28
                                                 UNITED STATES MAGISTRATE JUDGE



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